  Case 4:10-cr-00459     Document 465     Filed on 10/07/19 in TXSD   Page 1 of 4
                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                           October 09, 2019
                      UNITED STATES DISTRICT COURT
                                                                          David J. Bradley, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA,                §
                                         §
VS.                                      §    CRIMINAL NO. 4:10-CR-0459-S
                                         §
WILMAR RENE DURAN-GOMEZ,                 §
                                         §
        Defendant.                       §


                        MEMORANDUM AND ORDER

                                         I.

      Pending before the Court are the defendant’s, motion to strike the

government’s Notice of Intent (“NOI”) to seek the death penalty against the

defendant and his motion and argument that the application of the death penalty

violates his constitutional rights under the Fifth and Eighth Amendments to the

federal Constitution [DE 343]. The government filed a response to the defendant’s

motions [DE 354]. After a careful review of the pleadings, briefs and arguments of

counsel, the Court determines that the defendant’s motion to strike and challenge

to the application of the death penalty on constitutional grounds should be denied.

                                        II.

      The Second Superseding Indictment charges that the defendant and co-

defendants, beginning January 2005 and continuing to, on or about, November

2006, conspired to transport and harbor aliens within the Southern District of

1/4
   Case 4:10-cr-00459    Document 465    Filed on 10/07/19 in TXSD   Page 2 of 4




Texas. The Indictment further asserts that aliens were smuggled from Mexico into

the United States and held in a warehouse in Houston, Texas. To facilitate the

operation, it is alleged that the defendant formed two transportation companies and

employed co-conspirators to assist.

        The Indictment charges that on or about November 6, 2006, aliens

Sagastume and Hector LNU were among the aliens delivered to the Houston

warehouse. They, along with others, were held pending the payment of smuggling

fees.   On or about November 7, 2006, a fire was started in the warehouse,

allegedly, by aliens attempting to escape. When the defendant learned of the fire,

he set out to identify the person(s) who set the fire. Shortly, the investigation

focused on Sagastume and Hector LNU. The government asserts that the two were

repeatedly beaten over several days, which beatings actually resulted in the death

of both men.

        The government’s original Indictment was filed on July1, 2010, and named

the defendant and three co-defendants. A Superseding Indictment was filed on

October 4, 2012, expanding the scope of the charges.             Concurrently, the

government filed a NOI to seek the death penalty against the defendants. A second

Superseding Indictment was returned on January 10, 2017, refining the

government’s charges against the defendant and a co-defendant.




2/4
   Case 4:10-cr-00459     Document 465      Filed on 10/07/19 in TXSD   Page 3 of 4




                                          III.

      The defendant asserts, by his motions, that the death penalty assessment

violates his Fifth and Eighth Amendments right under the federal Constitution.

More specifically, he asserts that the government’s NOI to seek the death penalty

is disproportionate to his crime and further, violates his Eighth Amendment to be

free from “cruel and unusual” punishment.           Concerning his constitutionality

argument, the defendant also asserts similar claims, that include geographic and

racial disparity argument, particularly in Harris County, Texas, and funding

disparities that together violate his rights to “due process”.

      The Court has reviewed the defendant’s motion and the government’s

response, and determines that neither the pleadings, arguments of counsel nor case

law supports a finding that the defendant’s rights under the Fifth or Eighth

Amendments have been or will be violated by the charges or the government’s

intent to seek the death penalty. The whole of the defendant’s claims tend toward

an “equal protection” argument requiring evidence that the government has set out

on a course of purposeful discrimination toward him or, that such course will have

a discriminatory effect on him. See McClesky v. Kemp, 481 U.S. 279, 292 (1987).

      There is no evidence that the Department of Justice or the U. S. Attorneys

for the Southern District of Texas (“AUSA”) has acted or is acting with a

discriminatory purpose.     Id.   Moreover, the defendant’s reliance on statistics,



3/4
  Case 4:10-cr-00459      Document 465    Filed on 10/07/19 in TXSD   Page 4 of 4




evincing the conduct of Harris County District Attorney’s Office, is of no impact

in this federal case.     The record of the AUSA, in seeking to apply the death

penalty in the Southern District of Texas is not captured by the Harris County

statistics. Therefore, the statistical data supplied does not demonstrate the mindset

or conduct of the AUSA.

      The Court concludes, therefore, that the defendant’s motion to strike the

NOI and to dismiss based on an unconstitutional process should, and they are,

Hereby Denied.

      It is so Ordered.

      SIGNED on this 7th day of October, 2019.


                                          ________________________________
                                          Kenneth M. Hoyt
                                          United States District Judge




4/4
